         Case 25-14800-MBK                       Doc 1      Filed 05/05/25 Entered 05/05/25 19:40:55                             Desc Main
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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Rite Aid of Maryland, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       200 Newberry Commons
                                       Number              Street                                     Number         Street


                                                                                                      P.O. Box
                                       Etters              Pennsylvania             17319
                                          City                            State     Zip Code          City                         State     Zip Code


                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       York County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.riteaid.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            Rite Aid of Maryland, Inc.                                           Case number (if known)
           Name



                                               A. Check One:
7.   Describe debtor’s business
                                               ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                               ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               ☒ None of the above

                                               B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               4561

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                    ☐    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                           noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                         operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                      not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                    ☐    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                         debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                                proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                         balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                         any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                    ☐    A plan is being filed with this petition.
                                                    ☐    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                         accordance with 11 U.S.C. § 1126(b).
                                                    ☐    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                         Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                         the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                         (Official Form 201A) with this form.
                                                    ☐    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☐ No          District    District of New                    10/15/2023
   filed by or against the debtor       ☒ Yes.                    Jersey                  When       MM/DD/YYYY    Case number      23-19025
   within the last 8 years?
                                                      District                            When                     Case number
     If more than 2 cases, attach a                                                                  MM/DD/YYYY
     separate list.




     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 2
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Debtor           Rite Aid of Maryland, Inc.                                             Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                        Relationship    Affiliate
                                                       Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                           District      New Jersey
   List all cases. If more than 1,                                                                                    When
   attach a separate list.                           Case number, if known _______________________                                    MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                   ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                         safety.
                                                         What is the hazard?
                                                   ☐     It needs to be physically secured or protected from the weather.

                                                   ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                          (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                          other options).
                                                   ☐     Other


                                                   Where is the property?
                                                                                           Number        Street



                                                                                           City                               State       Zip Code



                                                   Is the property insured?
                                                   ☐ No

                                                   ☐ Yes.         Insurance agency

                                                                  Contact name
                                                                  Phone




                       Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐       1-49                         ☐       1,000-5,000                    ☒     25,001-50,000
    creditors (on a                   ☐       50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐       100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐       200-999




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Debtor           Rite Aid of Maryland, Inc.                                          Case number (if known)
          Name



15. Estimated assets (on a           ☐        $0-$50,000                ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)              ☐        $50,001-$100,000          ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                     ☐        $100,001-$500,000         ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐        $500,001-$1 million       ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on        ☐        $0-$50,000                 ☐    $1,000,001-$10 million                 ☐ $500,000,001-$1 billion
    a consolidated basis)            ☐        $50,001-$100,000           ☐    $10,000,001-$50 million                ☒ $1,000,000,001-$10 billion
                                     ☐        $100,001-$500,000          ☐    $50,000,001-$100 million               ☐ $10,000,000,001-$50 billion
                                     ☐        $500,001-$1 million        ☐    $100,000,001-$500 million              ☐ More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         05/05/2025
                                                              MM/ DD / YYYY


                                               /s/ Matthew Schroeder                                             Matthew Schroeder
                                               Signature of authorized representative of debtor               Printed name

                                               Title   Authorized Signatory




18. Signature of attorney                      /s/ Michael D. Sirota                                         Date        05/05/2025
                                               Signature of attorney for debtor                                          MM/DD/YYYY



                                               Michael D. Sirota
                                               Printed name
                                               Cole Schotz P.C.
                                               Firm name
                                               25 Main Street
                                               Number                    Street
                                               Hackensack                                                            NJ                07601
                                               City                                                                  State               ZIP Code

                                               (201) 489-3000                                                        msirota@coleschotz.com
                                               Contact phone                                                             Email address
                                               014321986                                          NJ
                                               Bar number                                         State




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   Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                     District of New Jersey
                                      (State)
                                                                                      ☐ Check if this is an
 Case number (if
                                                                                            amended filing
      known):
                                                    Chapter 11



                                               Rider 1
                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
    petition in the United States Bankruptcy Court for the District of New Jersey for relief under chapter
    11 of title 11 of the United States Code. The Debtors have moved for joint administration of these
    cases under the case number assigned to the chapter 11 case of New Rite Aid, LLC.

          New Rite Aid, LLC                                        JCG Holdings (USA), Inc.
          1740 Associates, L.L.C.                                  JCG (PJC) USA, LLC
          4042 Warrensville Center Road -                          K & B, Incorporated
           Warrensville Ohio, Inc.                                  K & B Alabama Corporation
          5277 Associates, Inc.                                    K & B Louisiana Corporation
          5600 Superior Properties, Inc.                           K & B Mississippi Corporation
          Apex Drug Stores, Inc.                                   K & B Services, Incorporated
          Broadview and Wallings-Broadview Heights                 K & B Tennessee Corporation
           Ohio, Inc.                                               K&B Texas Corporation
          Drug Palace, Inc.                                        Lakehurst and Broadway Corporation
          Eckerd Corporation                                       LMW – 90B Avenue Lake Oswego, Inc.
          EDC Drug Stores, Inc.                                    Maxi Drug, Inc.
          Ex Benefits, LLC                                         Maxi Drug North, Inc.
          Ex Design, LLC                                           Maxi Drug South, L.P.
          Ex Design Holdings LLC                                   Maxi Green Inc.
          Ex Holdco, LLC                                           Munson & Andrews, LLC
          Ex Initiatives, L.L.C.                                   Name Rite, L.L.C.
          Ex Options, LLC                                          PDS-1 Michigan, Inc.
          Ex Pharmacy, LLC                                         Perry Drug Stores, Inc.
          Ex Procurement, LLC                                      P.J.C. Distribution, Inc.
          Ex Rxclusives, LLC                                       P.J.C. Realty Co., Inc.
          Ex Savings, LLC                                          PJC Lease Holdings, Inc.
          Ex Software, LLC                                         PJC Manchester Realty LLC
          Ex Solutions of MO, LLC                                  PJC of Massachusetts, Inc.
          Ex Solutions of NV, LLC                                  PJC of Rhode Island, Inc.
          Ex Solutions of OH, LLC                                  PJC of Vermont Inc.
          Ex Tech, LLC                                             PJC Peterborough Realty LLC
          First Florida Insurers of Tampa, LLC                     PJC Realty MA, Inc.
          GDF, Inc.                                                PJC Revere Realty LLC
          Genovese Drug Stores, Inc.                               PJC Special Realty Holdings, Inc.
          Gettysburg and Hoover-Dayton, Ohio, LLC                  RCMH LLC
          Grand River & Fenkell, LLC                               RDS Detroit, Inc.
          Harco, Inc.                                              READ’s Inc.
          Hunter Lane, LLC                                         RediClinic Associates, Inc.
          ILG – 90 B Avenue Lake Oswego, LLC                       RediClinic LLC
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        RediClinic of Dallas-Fort Worth, LLC                  Rite Aid of Ohio, Inc.
        RediClinic of DC, LLC                                 Rite Aid of Pennsylvania, LLC
        RediClinic of DE, LLC                                 Rite Aid of South Carolina, Inc.
        RediClinic of MD, LLC                                 Rite Aid of Tennessee, Inc.
        RediClinic of PA, LLC                                 Rite Aid of Vermont, Inc.
        RediClinic of VA, LLC                                 Rite Aid of Virginia, Inc.
        RediClinic US, LLC                                    Rite Aid of Washington, D.C. Inc.
        Richfield Road – Flint, Michigan, LLC                 Rite Aid of West Virginia, Inc.
        Rite Aid Corporation                                  Rite Aid Online Store, Inc.
        Rite Aid Drug Palace, Inc.                            Rite Aid Payroll Management, Inc.
        Rite Aid Hdqtrs. Corp.                                Rite Aid Realty Corp.
        Rite Aid Hdqtrs. Funding, Inc.                        Rite Aid Rome Distribution Center, Inc.
        Rite Aid Lease Management Company                     Rite Aid Specialty Pharmacy, LLC
        Rite Aid of Connecticut, Inc.                         Rite Aid Transport, Inc.
        Rite Aid of Delaware, Inc.                            Rite Investments Corp.
        Rite Aid of Georgia, Inc.                             Rite Investments Corp., LLC
        Rite Aid of Indiana, Inc.                             Rx Choice, Inc.
        Rite Aid of Kentucky, Inc.                            Rx USA, Inc.
        Rite Aid of Maine, Inc                                The Bartell Drug Company
        Rite Aid of Maryland, Inc.                            The Jean Coutu Group (PJC) USA, Inc.
        Rite Aid of Michigan, Inc.                            The Lane Drug Company
        Rite Aid of New Hampshire, Inc.                       Thrift Drug, Inc.
        Rite Aid of New Jersey, Inc.                          Thrifty Corporation
        Rite Aid of New York, Inc.                            Thrifty Ice Cream, LLC
        Rite Aid of North Carolina, Inc.                      Thrifty PayLess, Inc.

                                     Prior Case Pending in this Court

In re Rite Aid Corporation, et al., Case No. 23-18993 (MBK) (Bankr. D.N.J. Oct. 15, 2023)
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF NEW JERSEY

                                                                 )
    In re:                                                       )   Chapter 11
                                                                 )
    RITE AID OF MARYLAND, INC.,                                  )   Case No. 25-[____] (___)
                                                                 )
                               Debtor.                           )
                                                                 )

                                     LIST OF EQUITY SECURITY HOLDERS1

                                                                                        Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                         Equity Held
                                                    200 Newberry Commons
              Rite Aid Corporation                                                              100%
                                                   Etters, Pennsylvania 17319




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 RITE AID OF MARYLAND, INC.,                                  )   Case No. 25-[____] (___)
                                                              )
                            Debtor.                           )
                                                              )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                Shareholder                            Approximate Percentage of Shares Held
               Rite Aid Corporation                                       100%
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    Fill in this information to identify the case:
    Debtor name: New Rite Aid, LLC
    United States Bankruptcy Court for the:
    Case number (If known): ______________                                                                                                         Check if this is an amended
                                                                                                                                                    filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 50 Largest Unsecured Claims and Are
     Not Insiders                                                                           12/15
     A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is
     an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
     holders of the 50 largest unsecured claims.




         Name of creditor and complete mailing           Name, telephone number, and email          Nature of the claim (for Indicate if claim is Amount of unsecured claim
             address, including zip code                    address of creditor contact              example, trade debts,      contingent,       if the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                    bank loans, professional unliquidated, or If claim is partially secured, fill in total claim amount and deduction
                                                                                                         services, and           disputed         for value of collateral or setoff to calculate unsecured claim.
                                                                                                     government contracts)

                                                                                                                                                                            Deduction for value
                                                                                                                                                         Total claim, if      of collateral or
                                                                                                                                                        partially secured          setoff             Unsecured claim
   1 ACE AMERICAN INSURANCE COMPANY                    KEVIN HARKIN                                INSURANCE CLAIM             UNLIQUIDATED                                                       $         87,421,088.90
     436 WALNUT STREET                                 CFO
     PHILADELPHIA, PA 19106                            EMAIL - KEVIN.HARKIN@CHUBB.COM
     UNITED STATES                                     PHONE - (212) 703-7000
   2 DEPARTMENT OF JUSTICE                             RYAN LAMB, ESQ.                             PLAN PAYMENT CLAIM          UNLIQUIDATED                                                       $         49,000,000.00
     ATTN: RYAN LAMB, ESQ.                             TRIAL ATTORNEY
     C/O: U.S. DEPARTMENT OF JUSTICE, CIVIL DIVISION   EMAIL - RYAN.LAMB@USDOJ.GOV
     P.O. BOX 875                                      PHONE - (866) 909-5170
     WASHINGTON, DC 20044-0875
     UNITED STATES
   3 AMERISOURCEBERGEN DRUG CORP                       JAMES F. CLEARY                             TRADE CLAIM                                                                                    $         29,850,071.54
     1 WEST FIRST AVENUE                               CFO
     CONSHOHOCKEN, PA 19428                            EMAIL - JAMES.CLEARY@CENCORA.COM
     UNITED STATES                                     PHONE - (610) 727-7000
   4 UFCW LOCAL 8-GOLDEN STATE                         JACQUES LOVEALL                             UNION CLAIM                 UNLIQUIDATED                                                       $         19,501,087.00
     2200 PROFESSIONAL DRIVE                           CEO
     ROSEVILLE, CA 95661                               EMAIL - JLOVEALL@UFCW8.ORG
     UNITED STATES                                     PHONE - (916) 786-0588
   5 UNITED FOOD AND COMMERCIAL WORKERS LOCAL 1167     JOE DUFFLE                                  UNION CLAIM                 UNLIQUIDATED                                                       $         18,672,465.60
     855 W. SAN BERNARDINO AVE                         PRESIDENT
     BLOOMINGTON, CA 92316                             EMAIL - JOE@UFCW1167.ORG
     UNITED STATES                                     PHONE - (909) 877-5000 EXT 150

   6 GOOGLE INC                                        ANAT ASHKENAZI                              TRADE CLAIM                 UNLIQUIDATED                                                       $         18,315,913.09
     1600 AMPHITHEATRE PARKWAY                         CFO
     MOUNTAIN VIEW, CA 94043                           EMAIL - ANATASHKENAZI@GOOGLEMAIL.COM
     UNITED STATES                                     PHONE - (650) 253-0000

  7 CHATTEM INC                                        CHARLES RUSK                                TRADE CLAIM                 UNLIQUIDATED                                                       $         12,698,496.24
    3708 ST. ELMO AVENUE                               CFO
    CHATTANOOGA, TN 37409                              EMAIL - CHARLES.RUSK@CHATTEM.COM
    UNITED STATES                                      PHONE - (423) 822-5000
  8 HCL AMERICA INC                                    SHIV WALIA                                  TRADE CLAIM                 UNLIQUIDATED                                                       $         11,191,439.16
    330 POTRERO AVE                                    CFO
    SUNNYVALE, CA 94085                                EMAIL - SHIV.WALIA@HCL.COM
    UNITED STATES                                      PHONE - (408) 733-0480
  9 32-14 31ST FOOD LLC                                ROCCO A. CAVALIERE, ESQ.                    LEASE REJECTION DAMAGE      UNLIQUIDATED                                                       $          9,405,233.22
    3214 31ST ST                                       COUNSEL ATTORNEY                            CLAIM
    ASTORIA, NY 11106                                  EMAIL - RCAVALIERE@TARTERKRINSKY.COM
    UNITED STATES                                      PHONE - (212) 216-8000
 10 PRICEWATERHOUSECOOPERS LLP                         TIM GRADY                                   TRADE CLAIM                                                                                    $          7,950,922.65
    300 MADISON AVE                                    COO
    NEW YORK, NY 10017                                 EMAIL - TIMOTHY.GRADY@PWC.COM
    UNITED STATES                                      PHONE - (646) 471 3000/4000
 11 EVERGREEN TRADING                                  GORDON ZELLNER                              TRADE CLAIM                                                                                    $          6,873,762.65
    233 SPRING ST                                      CEO
    5TH FLOOR                                          EMAIL - GZELLNER@EVERGREENTRADING.COM
    NEW YORK, NY 10013                                 PHONE - 844-364-0700
    UNITED STATES
 12 FFF ENTERPRISES INC                                WAYNE TALLEUR                               TRADE CLAIM                                                                                    $          6,013,806.98
    44000 WINCHESTER ROAD                              CFO
    TEMECULA, CA 92590                                 EMAIL - WTALLEUR@FFFENTERPRISES.COM
    UNITED STATES                                      PHONE - (800) 843-7477
 13 UFCW NORTHERN CALIFORNIA AND DRUG EMPLOYERS        JACQUES LOVEALL                             UNION CLAIM                 UNLIQUIDATED                                                       $          5,988,860.00
    HEALTH AND WELFARE TRUST FUND                      PRESIDENT
    2200 PROFESSIONAL DRIVE                            EMAIL - JLOVEALL@UFCW8.ORG
    ROSEVILLE, CA 95661                                PHONE - (800) 552-2400
    UNITED STATES
 14 HALEON US SERVICES INC                             DAWN ALLEN                                  TRADE CLAIM                                                                                    $          5,928,811.00
    THE HEIGHTS BUILDING 5                             CFO
    FIRST FLOOR                                        EMAIL - DAWN.ALLEN@HALEON.COM
    THE HEIGHTS WEYBRIDGE                              PHONE - (888) 825 5249
    SURREY, KT13 0NY
    UNITED KINGDOM


Official Form 204                                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims                                                          page 1
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 15 KENVUE BRANDS LLC                          THIBAUT MONGON                               TRADE CLAIM                                                      $    4,735,854.81
    1 KENVUE WAY                               CEO
    SUMMIT, NJ 07901                           EMAIL - TMONGON@KENVUE.COM
    UNITED STATES                              PHONE - (888) 319-5476
 16 THE HANOVER INSURANCE COMPANY              JACK ROCHE                                   SURETY BOND CLAIM           UNLIQUIDATED                         $    4,637,500.00
    440 LINCOLN STREET                         CEO
    WORCESTER, MA 01653-0002                   EMAIL - JROCHE@HANOVER.COM
    UNITED STATES                              PHONE - 508-855-1000
 17 STARCOM WORLDWIDE, INC.                    MICHAEL EPSTEIN                              TRADE CLAIM                 UNLIQUIDATED                         $    4,044,848.39
    35 W WACKER DR                             CEO
    CHICAGO, IL 60601                          EMAIL - MICHAEL.EPSTEIN@SMVGROUP.COM
    UNITED STATES                              PHONE - 212-468-3888

 18 INFOSYS LIMITED                            JAYESH SANGHRAJKA                            TRADE CLAIM                                                      $    3,884,131.50
    507 E HOWARD LN                            CFO
    BUILDING 1, SUITE 200                      EMAIL - JAYESH_SANGHRAJKA@INFOSYS.COM
    AUSTIN, TX 78753                           PHONE - (646) 254-3198
    UNITED STATES
 19 HCL TECH CORP SERV LTD                     SHIV WALIA                                   TRADE CLAIM                                                      $    3,874,471.17
    TECHNOLOGY HUB, SEZ                        CFO
    PLOT NO. 3A, SECTOR 126                    EMAIL - SHIV.WALIA@HCL.COM
    NOIDA, 201304                              PHONE - (408) 733-0480
    INDIA
 20 KORN FERRY (US)                            GARY BURNISON                                TRADE CLAIM                                                      $    3,854,927.22
    1900 AVENUE OF THE STARS                   CEO
    SUITE 1225                                 EMAIL - GARY.BURNISON@KORNFERRY.COM
    LOS ANGELES, CA 90067                      PHONE - 212-687-1834
    UNITED STATES
 21 SAP AMERICA INC                            LLOYD ADAMS                                  TRADE CLAIM                 UNLIQUIDATED                         $    3,585,288.55
    3999 WEST CHESTER PIKE                     CEO
    NEWTOWN SQUARE, PA 19073                   EMAIL - LLOYD.ADAMS@SAP.COM
    UNITED STATES                              PHONE - 610-661-1000
 22 RUSSELL STOVER CHOCOLATES LLC              NICCOLO STARACE                              TRADE CLAIM                                                      $    3,455,317.44
    4900 OAK STREET                            CEO
    KANSAS CITY, MO 64112-2702                 EMAIL - NSTARACE@LINDT.COM
    UNITED STATES                              PHONE - 1-800-477-8683
 23 AGENCY WITHIN LLC                          JOE YAKUEL                                   TRADE CLAIM                 UNLIQUIDATED                         $    3,151,861.13
    43-01 22ND ST                              CEO
    SUITE 602                                  EMAIL - JYAKUEL@WITHIN.CO
    QUEENS, NY 11101                           PHONE - (315) 533-2388; (844) 494-8446
    UNITED STATES
 24 BON SUISSE INC                             DAVID TAYLOR                                 TRADE CLAIM                                                      $    3,105,328.89
    11860 COMMUNITY RD                         GENERAL MANAGER
    POWAY, CA 92064-8887                       EMAIL - DTAYLOR@BONSUISSE.COM
    UNITED STATES                              PHONE - 858-391-9222
 25 ACON LABORATORIES                          THOMAS TROYK                                 TRADE CLAIM                 UNLIQUIDATED                         $    2,947,267.46
    9440 CARROLL PARK DRIVE                    VP, OPERATIONS
    SAN DIEGO, CA 92121                        EMAIL - TTROYK@ACONLABS.COM
    UNITED STATES                              PHONE - 858-875-8000
 26 IRON MOUNTAIN OFF-SITE                     BARRY HYTINEN                                TRADE CLAIM                 UNLIQUIDATED                         $    2,727,819.46
    1101 ENTERPRISE DRIVE                      CFO
    ROYERSFORD, PA 19468                       EMAIL - BARRY.HYTINEN@IRONMOUNTAIN.COM
    UNITED STATES                              PHONE - 800-934-3453

 27 UNILEVER HPC USA                           HERRISH PATEL                                TRADE CLAIM                                                      $    2,707,661.07
    655 THIRD AVENUE, 10TH FLOOR               PRESIDENT UNILEVER USA
    NEW YORK, NY 10017                         EMAIL - HERRISH.PATEL@UNILEVER.COM
    UNITED STATES                              PHONE - 800-298-5018
 28 EMERSON HEALTHCARE LLC                     ERIC STASTNY                                 TRADE CLAIM                                                      $    2,695,037.77
    407 EAST LANCASTER AVE                     COO
    WAYNE, PA 19087                            EMAIL - ESTASTNY@EMERSONHOSP.ORG
    UNITED STATES                              PHONE - 978-369-1400
 29 INTERNATIONAL FIDELITY INSURANCE COMPANY   DAVID PIRRUNG                                SURETY BOND CLAIM           UNLIQUIDATED                         $    2,686,493.00
     ONE NEWARK CENTER, 20TH FLOOR             CFO
    NEWARK, NJ 7102                            EMAIL - DAVID.PIRRUNG@IATINSURANCE.COM
    UNITED STATES                              PHONE - (919) 831-4169


 30 SUNBELT RENTALS                            BRENDAN HORGAN                               TRADE CLAIM                 UNLIQUIDATED                         $    2,676,971.92
    2341 DEERFIELD DRIVE                       CEO
    FORT MILL, SC 29715                        EMAIL -
    UNITED STATES                              BRENDAN.HORGAN@SUNBELTRENTALS.COM
                                               PHONE - 888-886-8199

 31 ADOBE INC                                  DAN DURN                                     TRADE CLAIM                                                      $    2,672,494.62
    345 PARK AVENUE                            CFO
    SAN JOSE, CA 95110                         EMAIL - DDURN@ADOBE.COM
    UNITED STATES                              PHONE - 408-536-6000
 32 MASTER LITIGATION TRUST                    DONNA H. LIEBERMAN, ESQ.                     PLAN PAYMENT CLAIM                                               $    2,500,000.00
    C/O HALPERIN BATTAGLIA BENZIJA, LLP        COUNSEL ATTORNEY
    40 WALL STREET, 37TH FLOOR                 EMAIL - DLIEBERMAN@HALPERINLAW.NET
    NEW YORK, NY 10005                         PHONE - (212) 765-9100
    UNITED STATES

                                               ED C. GENTLE, III
    C/O GENTLE, TURNER BENSON                  COUNSEL ATTORNEY
    501 RIVERCHASE PARKWAY EAST, SUITE 100     EMAIL - EGENTLE@GTANDSLAW.COM
    HOOVER, AL 35244                           PHONE - (205) 960-2533
    UNITED STATES




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 33 ACTIVE COSMETICS DIV OF LOREAL                    MYRIAM COHEN-WELGRYN                    TRADE CLAIM                                                         $        2,493,198.82
    888 N DOUGLAS ST                                  PRESIDENT, ACTIVE COSMETICS
    EL SEGUNDO, CA 90245                              EMAIL - MYRIAM.COHEN-WELGRYN@LOREAL.COM
    UNITED STATES                                     PHONE - (212) 818-1500


 34 ANDA / GENERIC                                    ANDREW MOORE                               TRADE CLAIM                 UNLIQUIDATED                         $        2,417,461.19
    2915 WESTON ROAD                                  PRESIDENT
    WESTON, FL 33331                                  EMAIL - ANDREW.MOORE@ANDANET.COM
    UNITED STATES                                     PHONE - 1-866-204-8492
 35 DELOITTE & TOUCHE LLP                             JASON GIRZADAS                             TRADE CLAIM                                                      $        2,252,152.54
    1633 BROADWAY                                     CEO, DELOITTE US
    NEW YORK, NY 10019                                EMAIL - JGIRZADAS@DELOITTE.COM
    UNITED STATES                                     PHONE - 415-783-4324
 36 DIVISIONS INC DBA DIVISIONS                       GARY MITCHELL                              TRADE CLAIM                                                      $        2,224,473.96
    300 DAVE COWENS DRIVE, 1 RIVERFRONT PLACE # 500   CEO
    NEWPORT, KY 47071                                 EMAIL - GMITCHELL@DIVISIONSINC.COM
    UNITED STATES                                     PHONE -
 37 COGNIRA INC                                       HATEM SELLAMI                              TRADE CLAIM                                                      $        2,151,245.97
    TWO MIDTOWN PLAZA, 1349 W PEACHTREE ST NW #1750   CEO
    ATLANTA, GA 30309                                 EMAIL - HATEM.SELLAMI@COGNIRA.COM
    UNITED STATES                                     PHONE - (404) 548-8359

 38 LIVING ESSENTIALS CORP                            STEVE RAMSEY                               TRADE CLAIM                                                      $        2,130,716.14
    1550 VALLEY VISTA DR STE 210                      VP OF SALES
    DIAMOND BAR, CA 91765                             EMAIL - STEVE@FIVEHOUR.COM
    UNITED STATES                                     PHONE - (909) 590-1000
 39 PURERED                                           DONNY BRADSHAW                             TRADE CLAIM                                                      $        2,082,004.50
    220 SEMEL CIRCLE NW                               CFO
    ATLANTA, GA 30309                                 EMAIL - DONNY.BRADSHAW@PURERED.NET
    UNITED STATES                                     PHONE - (770) 498-4091
 40 L. PERRIGO CO.                                    PATRICK LOCKWOOD-TAYLOR                    TRADE CLAIM                                                      $        2,025,843.95
    515 EASTERN AVE                                   CEO
    ALLEGAN, MI 49010                                 EMAIL - PATRICK.LOCKWOOD-
    UNITED STATES                                     TAYLOR@PERRIGO.COM
                                                      PHONE - 269-673-8451
 41 BERKLEY INSURANCE COMPANY                         RICHARD BAIO                               SURETY BOND CLAIM           UNLIQUIDATED                         $        2,000,000.00
    W. R. BERKLEY CORPORATION                         CFO
    GREENWICH, CT 6830                                EMAIL - RICHARD.BAIO@BERKLEY.COM
    UNITED STATES                                     PHONE - 612.766.3100
 42 LEO BURNETT COMPANY                               PAUL EICHELMAN                             TRADE CLAIM                 UNLIQUIDATED                         $        1,986,411.90
    35 WEST WACKER DRIVE                              CFO
    CHICAGO, IL 60601                                 EMAIL - PEICHELMAN@LEOBURNETT.COM
    UNITED STATES                                     PHONE - (312) 220 5959
 43 STAPLES, INC.                                     WALKER JOHNSON                             TRADE CLAIM                                                      $        1,925,733.54
    500 STAPLES DRIVE                                 CFO
    FRAMINGHAM, MA 1702                               EMAIL - WALKER.JOHNSON@STAPLES.COM
    UNITED STATES                                     PHONE - 508–253–5000
 44 SPRINGWISE FACILITY MGMT INC                      BRYAN WYNEN                                TRADE CLAIM                                                      $        1,887,393.13
    1822 SOUTH BEND AVENUE                            CEO
    SOUTH BEND, IN 46637                              EMAIL - BRYAN.WYNEN@SPRINGWISEFM.COM
    UNITED STATES                                     PHONE -

 45 HUGHES NETWORK SYSTEMS INC                        JEFF BOGGS                                 TRADE CLAIM                 UNLIQUIDATED                         $        1,833,835.34
    11717 EXPLORATION LANE                            VP, FINANCE
    GERMANTOWN, MD 20876                              EMAIL - JEFF.BOGGS@HUGHES.COM
    UNITED STATES                                     PHONE -
 46 LCP ORANGEVALE, LLC                               MICHAEL J. BARRIE, ESQ.                    LEASE GUARANTY CLAIM        UNLIQUIDATED                         $        1,795,275.34
    1313 NORTH MARKET ST, SUITE 201                   COUNSEL ATTORNEY
    WILMINGTON, DE 19801                              EMAIL - MBARRIE@BENESCHLAW.COM
    UNITED STATES                                     PHONE -
 47 1010DATA SERVICES, LLC                            INNA KUZNETSOVA                            TRADE CLAIM                 UNLIQUIDATED                         $        1,765,691.40
    432 PARK AVE S, 15TH FLOOR                        CEO
    NEW YORK, NY 10017                                EMAIL - INNA.KUZNETSOVA@1010DATA.COM
    UNITED STATES                                     PHONE - 650.250.4777


 48 HARBOR DISTRIBUTING LLC                           CHRIS SELWOOD                              TRADE CLAIM                                                      $        1,695,090.96
    5901 BOLSA AVE                                    CFO
    HUNTINGTON BEACH, CA 92647                        EMAIL - CSELWOOD@REYESHOLDINGS.COM
    UNITED STATES                                     PHONE - (714) 933-2400
 49 MCKESSON DRUG                                     BRIAN TYLER                                TRADE CLAIM                 CONTINGENT                           UNDETERMINED
    6555 STATE HWY 161                                CEO                                                                    UNLIQUIDATED
    IRVING, TX 75039                                  EMAIL - BRIAN.TYLER@MCKESSON.COM
    UNITED STATES                                     PHONE - (972) 446-4800
 50 PENSION BENEFIT GUARANTY CORPORATION              LISA CARTER                                PENSION CLAIM               UNLIQUIDATED                         UNDETERMINED
    445 12TH STREET SW                                CEO
    WASHINGTON, DC 20024                              EMAIL - LISA.CARTER@PBGC.GOV
    UNITED STATES                                     PHONE -




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    Fill in this information to identify the case and this filing:

   Debtor Name          Rite Aid of Maryland, Inc.

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                        05/05/2025                                 /s/ Matthew Schroeder
                                        MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                   Matthew Schroeder
                                                                                   Printed name
                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                OMNIBUS WRITTEN CONSENT OF THE
                            BOARD OF DIRECTORS, MANAGERS, OR SIMILAR
                       GOVERNING BODY OR ENTITY, AS APPLICABLE, OF EACH OF
                      THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

                        We, the undersigned, are the requisite members of the board of directors, managers,
                or similar governing body or the sole member or sole managing member
                (each, an “Authorizing Body,” and collectively, the “Authorizing Bodies”), as applicable,
                of each of the companies set forth on Exhibit A attached hereto (each, a “Company,” and
                collectively the “Rite Aid Companies”), and each organized and existing under the internal
                laws of the state of incorporation or formation, as applicable, as set forth in each
                Company’s applicable governing documents. Each Authorizing Body hereby takes the
                following actions and adopts the resolutions attached hereto as Annex A by written
                consent, pursuant to its Company’s bylaws, limited liability company agreement, operating
                agreement, or such other similar governing document and the applicable laws of the
                jurisdiction of incorporation or formation, as applicable, in which such Company is
                organized.

                        This consent may be executed in two or more counterparts (including by facsimile
                or portable document format (.pdf)) and all so executed counterparts shall constitute one
                consent notwithstanding that all the signatories hereto are not signatories to the same
                counterpart.

                       IN WITNESS WHEREOF, this omnibus written consent has been adopted as of
                May 5, 2025.

                                          [Remainder of page intentionally left blank]
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                                                             Exhibit A

                                                    The Rite Aid Companies

                       1. New Rite Aid, LLC                          22. Maxi Drug North, Inc.
                       2. The Bartell Drug Company                   23. Genovese Drug Stores, Inc.
                       3. JCG Holdings (USA) Inc.                    24. Rite Aid Drug Palace, Inc.
                       4. JCG (PJC) USA, LLC                         25. Rite Aid of New York, Inc.
                       5. Rite Investments Corp.                     26. Eckerd Corporation
                       6. Rite Aid Hdqtrs. Funding, Inc.             27. Maxi Drug, Inc.
                       7. The Jean Coutu Group (PJC)                 28. Rite Aid of Connecticut, Inc.
                          USA, Inc.
                       8. Maxi Green Inc.                            29. Rite Aid of Delaware, Inc.
                       9. PJC of Vermont, Inc.                       30. Rite Aid of Maryland, Inc.
                       10. Rite Aid of Vermont                       31. RediClinic Associates, Inc.
                       11. Rite Aid of Michigan, Inc.                32. Rite Aid of Ohio, Inc.
                       12. 1740 Associates, LLC                      33. Rite Aid of Pennsylvania, LLC
                       13. Richfield Road – Flint, Michigan,         34. Rite Aid of Virginia, Inc.
                           LLC
                       14. Perry Drug Stores, Inc.                   35. The Lane Drug Company
                       15. Apex Drug Stores, Inc.                    36. Thrift Drug, Inc.
                       16. PDS-1 Michigan, Inc.                      37. Harco, Inc.
                       17. RDS Detroit, Inc.                         38. Rite Aid of Georgia, Inc.
                       18. Name Rite, LLC                            39. Rite Aid of Indiana, Inc.
                       19. Thrifty Payless, Inc.                     40. Rite Aid of Kentucky, Inc.
                       20. Thrifty Ice Cream, LLC                    41. Rite Aid of Maine, Inc.
                       21. Rite Aid of New Hampshire, Inc.           42. Rite Aid Rome Distribution
                                                                         Center, Inc.
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                       43. Rite Aid of North Carolina, Inc.         64. RCMH LLC
                       44. Munson & Andrews, LLC                    65. Rite Aid Hdqtrs. Corp.
                       45. Gettysburg and Hoover – Dayton,          66. Broadview and Wallings-
                           Ohio, LLC                                    Broadview Heights Ohio, Inc.
                       46. Rite Aid of South Carolina, Inc.         67. Drug Palace, Inc.
                       47. Rite Aid of Tennessee, Inc.              68. GDF, Inc.
                       48. Rite Aid of Washington, D.C., Inc.       69. Grand River & Fenkell, LLC
                       49. Rite Aid of West Virginia, Inc.          70. Lakehurst and Broadway
                                                                        Corporation
                       50. Rite Aid Online Store, Inc.              71. Rite Aid Transport, Inc.
                       51. Rite Aid Payroll Management, Inc.        72. Rx Choice, Inc.
                       52. K&B, Incorporated                        73. Rx USA, Inc.
                       53. K&B Alabama Corporation                  74. 4042 Warrensville Center Road –
                                                                        Warrenville Ohio, Inc.
                       54. K&B Louisiana Corporation                75. 5277 Associates, Inc.
                       55. K&B Mississippi Corporation              76. 5600 Superior Properties, Inc.
                       56. K&B Tennessee Corporation                77. P.J.C. Distribution, Inc.
                       57. K&B Texas Corporation                    78. PJC of Rhode Island, Inc.
                       58. K&B Services, Incorporated               79. PJC Lease Holdings, Inc.
                       59. Thrifty Corporation                      80. PJC of Massachusetts, Inc.
                       60. Rite Aid Lease Management                81. P.J.C Realty Co., Inc.
                           Company
                       61. Rite Aid Realty Corp.                    82. PJC Realty MA, Inc.
                       62. LMW – 90B AVENUE LAKE                    83. PJC Special Realty Holdings, Inc.
                           OSWEGO, INC.
                       63. LG – 90B Avenue Lake Oswego,             84. PJC Manchester Realty LLC
                           LLC




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                       85. PJC Peterborough Realty LLC            105. Ex Initiatives L.L.C. (f/k/a
                                                                  Rx Initiatives L.L.C.)
                       86. PJC Revere Realty LLC                  106. EDC Drug Stores, Inc.
                       87. Maxi Drug South, L.P.                  107. READ’S Inc.
                       88. Rite Aid Specialty Pharmacy, LLC       108. Hunter Lane, LLC
                       89. RediClinic LLC                         109. Ex Holdco, LLC (f/k/a Elixir
                                                                  Holdings, LLC)
                       90. Rite Investments Corp., LLC            110. RediClinic of MD, LLC
                       91. Ex Tech (f/k/a Ascend Health           111. RediClinic of PA, LLC
                           Technology, LLC)
                       92. Ex Design Holdings, LLC (f/k/a         112. RediClinic US, LLC
                           Design Rx Holdings, LLC)
                       93. Ex Options, LLC (f/k/a Elixir Rx       113. RediClinic of DC, LLC
                           Options, LLC)
                       94. Ex Solutions of OH, LLC (f/k/a         114. RediClinic of DE, LLC
                           Elixir Rx Solutions, LLC)
                       95. Ex Solutions of MO, LLC (f/k/a         115. RediClinic of VA, LLC
                           Elixir Rx Solutions, LLC)
                       96. Ex Solutions of NV, LLC (f/k/a         116. RediClinic of Dallas-Fort
                           Rx Solutions of Nevada, LLC)           Worth, LLC
                       97. Ex Pharmacy, LLC (f/k/a Elixir         117. Rite Aid of New Jersey, Inc.
                           Pharmacy, LLC)
                       98. Ex Savings, LLC (f/k/a Elixir          118. Rite Aid Corporation
                           Savings, LLC)
                       99. First Florida Insurers of Tampa,
                           LLC
                     100. Ex Software, LLC (f/k/a Laker
                     Software, LLC)
                     101. Ex Procurement, LLC (f/k/a Tonic
                        Procurement Solutions, LLC)
                     102. Ex Benefits (f/k/a Advance
                        Benefits, LLC)
                     103. Ex Design, LLC (f/k/a Design Rx,
                        LLC)
                     104. Ex Rxclusives, LLC




                                                              3
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                                                                                                      Annex A


                                             RESOLUTIONS OF THE
                                      AUTHORIZING BODY OF EACH COMPANY

                   WHEREAS, New Rite Aid, LLC (“New Rite Aid”), a Delaware limited liability company,
            is managed by a board of directors (the “New Rite Aid Board”);

                    WHEREAS, on March 12, 2025, the New Rite Aid Board adopted resolutions establishing
            a special committee of the New Rite Aid Board (the “Special Committee”) and delegating to the
            Special Committee, among other things, the power and authority of the New Rite Aid Board to:
            (a) plan for, negotiate, and evaluate potential strategic alternatives and contingency planning in
            connection with its ongoing goals and objectives; (b) direct and oversee the implementation and
            execution of the “Strategic Alternatives Plan” contemplated by that certain Amended and Restated
            Consent Under the Credit Agreement, dated as of March 11, 2025, by and among Rite Aid Corp.
            and the agent to that certain Credit Agreement, dated as of August 30, 2024 (as amended by that
            certain First Amendment to Credit Agreement, dated as of January 14, 2025, and as may be further
            amended, amended and restated, restated, supplemented, or otherwise modified in writing from
            time to time) (together with the preceding clause (a), the “Restructuring Matters”); and (c) make
            recommendations to the New Rite Aid Board regarding what actions should be taken by the New
            Rite Aid Board with respect to any Restructuring Matters;

                    WHEREAS, the Special Committee has determined that the matters approved and
            authorized herein, including, without limitation, the commencement of the Bankruptcy Cases
            (as defined below), the Rite Aid Companies’ entry into the DIP Credit Agreement (as defined
            below) and certain cash collateral and adequate protection obligations, the Sale Process (as defined
            below), the Store Closing Sales Process (as defined below), and the retention of certain
            professionals, in each case, constitute Restructuring Matters;

                    WHEREAS, the Special Committee has considered the actions set forth herein,
            determined them to be in the best interests of New Rite Aid and the other Rite Aid Companies in
            light of the Rite Aid Companies’ circumstances, and recommended that the New Rite Aid Board
            and each other Authorizing Body approve and authorize the transactions and other actions
            described herein;

                    WHEREAS, the Special Committee and each Authorizing Body has reviewed and
            considered the financial and operational condition of its applicable Company and the Rite Aid
            Companies as a whole, including the historical performance of the Rite Aid Companies, the assets
            of the Rite Aid Companies, the current and long-term liabilities of the Rite Aid Companies, and
            relevant industry and credit market conditions, and has considered various strategic alternatives in
            respect of such matters;

                    WHEREAS, the Special Committee and each Authorizing Body has (a) received,
            reviewed, and considered the recommendations of, and the related materials presented by the Rite
            Aid Companies’ management team (“Management”) and the Rite Aid Companies’ legal, financial,
            and other outside professional advisors (collectively, the “Advisors”) as to the financial condition
            of the Rite Aid Companies, the strategic alternatives available to the Rite Aid Companies, and the
            relative risks and benefits of pursuing cases under the provisions of chapter 11 of title 11 of the
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            United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”), and (b) had the
            opportunity to consult with Management and the Advisors in respect of the foregoing;

                    WHEREAS, each Authorizing Body, in respect of its applicable Company, has reviewed
            and considered the need for the Authorized Persons (as defined below) to take further actions to
            carry out the intent and purpose of the following resolutions, perform the obligations of such
            Company under the Bankruptcy Code, and pay fees and expenses in connection with the
            transactions and other actions contemplated herein;

                   WHEREAS, each Authorizing Body, in respect of its applicable Company, has reviewed
            and considered certain actions that may have previously been taken by any director, officer,
            employee, manager, member, stockholder, general partner, or agent of such Company in
            connection with or related to the matters contemplated herein;

                    WHEREAS, each Authorizing Body has reviewed and considered the Rite Aid
            Companies’ collective need to employ individuals and/or firms as counsel, professionals,
            consultants, or financial advisors to represent and assist the Rite Aid Companies in carrying out
            their duties in connection with the chapter 11 cases under the Bankruptcy Code (such cases,
            collectively, the “Bankruptcy Cases”); and

                    WHEREAS, the New Rite Aid Board and the other Authorizing Bodies believe that taking
            the actions set forth below is in the best interests of the Rite Aid Companies and, therefore, desire
            to approve the following resolutions.

                     NOW THEREFORE BE IT:

            1.     Commencement of the Bankruptcy Cases

                    RESOLVED, that in accordance with the Special Committee’s recommendation, each
            Authorizing Body, in respect of its applicable Company, has determined, after due consultation
            with Management and the Advisors, that it is desirable and in the best interests of such Company,
            its creditors, and other parties in interest that such Company file a voluntary petition for relief
            under the provisions of chapter 11 of the Bankruptcy Code (each, a “Bankruptcy Petition,” and
            collectively, the “Bankruptcy Petitions”) and commence a Bankruptcy Case under chapter 11 of
            the Bankruptcy Code in the United States Bankruptcy Court for the District of New Jersey
            (the “Bankruptcy Court”); and be it further

                    RESOLVED, that each Authorizing Body, with respect to its applicable Company, hereby
            authorizes, directs, and empowers (a) Mr. Matthew Schroeder, (b) Mr. Marc Liebman, and (c) any
            other officer or other authorized person acting in the name and on behalf of such Company (clauses
            (a) through (c), collectively, the “Authorized Persons” and each, an “Authorized Person”) to, on
            behalf of such Company, execute, verify, and file or cause to be filed any of the Bankruptcy
            Petitions, schedules, lists, and the motions, objections, replies, applications, and other papers or
            documents determined to be advisable, appropriate, convenient, desirable, or necessary in
            connection with the foregoing; and be it further

                    RESOLVED, that each Authorizing Body, with respect to its applicable Company, hereby
            (a) authorizes, adopts, and approves the form and the terms and provisions of, and authorizes and


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            empowers any Authorized Persons to file with the Bankruptcy Court any motions, pleadings, and
            any other documents to be performed or agreed to by its Company that are reasonably necessary
            for the prosecution of and in connection with the proceedings of the Bankruptcy Cases
            (collectively, the “Ancillary Documents”), and (b) authorizes and directs any Authorized Person,
            in the name and on behalf of its Company, to execute and deliver (with such changes, additions,
            and modifications thereto as such Authorized Persons executing the same shall approve, such
            approval to be conclusively evidenced by such Authorized Persons’ execution and delivery
            thereof) each of the Ancillary Documents to which such Company is a party and, upon the
            execution and delivery thereof by each of the other parties thereto, cause such Company to perform
            its obligations thereunder; and be it further

            2.       Retention of Professionals

                    RESOLVED, that each Authorizing Body, with respect to its applicable Company, hereby
            authorizes and directs the Authorized Persons, in the name and on behalf of such Company, to
            employ: (a) the law firms of (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP and (ii) Cole
            Schotz P.C., as bankruptcy co-counsels; (b) Guggenheim Securities, LLC, as investment banker;
            (c) Alvarez & Marsal North America, LLC, as financial and restructuring advisor; (d) A&G Realty
            Partners, LLC, to provide real estate advisory services; (e) Kroll Restructuring Administration
            LLC, as claims and noticing agent; and (f) any other legal counsel, accountants, financial advisors,
            restructuring advisors, or other professionals any Authorized Person deems necessary, appropriate
            or advisable; each to represent and assist the Rite Aid Companies in carrying out their duties and
            responsibilities and exercising their rights under the Bankruptcy Code and any applicable law
            (including, but not limited to, the law firms filing any pleadings or responses); and be it further

                    RESOLVED, that in connection with the foregoing, each Authorizing Body, with respect
            to its applicable Company, hereby authorizes, empowers, and directs the Authorized Persons to
            execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
            appropriate applications for authority to retain such services, and ratifies any and all prior actions
            taken in connection therewith in their entirety; and be it further

            3.       Sale Process and Store Closing Sales Process

                    RESOLVED, that in the business judgment of each Authorizing Body, it is desirable
            and in the best interest of its Company and its creditors, stakeholders, and other parties in interest
            that such Company, be and hereby is, authorized to (a) continue to engage in a marketing and
            sales process to identify the highest or otherwise best offer for all, substantially all, or a portion
            of the Rite Aid Companies’ assets (the “Sale Process”) and (b) initiate store closing sales to
            implement store closings for the Rite Aid Companies’ remaining retail store and distribution
            center assets, as applicable (the “Store Closing Sales Process”); and be it further

                     RESOLVED, that in connection with the foregoing, each Authorizing Body, with
            respect to its applicable Company, hereby authorizes, empowers, and directs the Authorized
            Persons to (a)(i) continue the Sale Process, (ii) enter into or pursue negotiations with any
            interested parties in connection with the Sale Process or any resulting sale(s), (iii) file one or
            more motions or other pleadings with the Bankruptcy Court in furtherance of the Sale
            Process, including motions or pleadings for bidding or other sale procedures to be used to
            facilitate consummation of any sales resulting from the Sale Process, (iv) execute and deliver

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            any transaction documents in connection with the Sale Process, (v) seek approval from the
            Bankruptcy Court to sell such assets or take actions in furtherance of a sale, and (vi) undertake
            any and all related transactions as in his or her reasonable discretion is determined to be
            necessary, desirable, or appropriate in connection with the Sale Process and (b)(i) initiate store
            closing sales pursuant to the Store Closing Sales Process, (ii) file one or more motions or other
            pleadings with the Bankruptcy Court in furtherance of the Store Closing Sales Process, and (iii)
            undertake any and all related transactions as in his or her reasonable discretion is determined to
            be necessary, desirable, or appropriate in connection with the Store Closing Sales Process; and be
            it further

            4.       Approval of DIP Credit Agreement and Additional DIP Facility Documents

                      RESOLVED, that each Authorizing Body, in considering all strategic alternatives, deems
            it to be desirable and in the best interest of its applicable Company and such Company’s creditors,
            stakeholders, and other parties in interest to (a) obtain senior secured superpriority postpetition
            financing (the “DIP Facility”) on terms and conditions substantially consistent with the proposed
            form of debtor-in-possession credit agreement (the “DIP Credit Agreement”), (b) obtain the
            benefits of the use of cash collateral, as such term is defined in section 363(a) of the Bankruptcy
            Code (“Cash Collateral”), which is security for certain prepetition lenders (the “Prepetition
            Secured Parties”), (c) enter into any and all other agreements or documents that are required,
            necessary, appropriate, desirable, or advisable to consummate the transactions contemplated by
            the DIP Credit Agreement, (d) execute all certificates, notices, instruments, receipts, motions, or
            other documents and agreements required to consummate the transactions considered by the DIP
            Credit Agreement or the DIP Orders (as defined below) (collectively, the “DIP Facility
            Documents”), and (e) incur any and all obligations and undertake any and all related transactions
            on substantially the same terms as contemplated under the DIP Facility Documents, including
            granting liens on its assets to secure such obligations; and be it further

                     RESOLVED, that to use and obtain the benefits of the Cash Collateral and the DIP
            Facility, the Rite Aid Companies will provide certain adequate protection to the Prepetition
            Secured Parties, as documented in one or more orders of the Bankruptcy Court which authorize,
            among other things, the Rite Aid Companies to execute and perform under the DIP Credit
            Agreement, use Cash Collateral, and provide adequate protection to the Prepetition Secured Parties
            (such orders, collectively, the “DIP Orders”) with such changes, additions, and modifications
            thereto as an Authorized Person shall approve; and be it further

                     RESOLVED, that each Authorizing Body has determined, in the exercise of its business
            judgment, that its applicable Company will obtain benefits from the incurrence of the borrowings
            and the other obligations under the DIP Facility Documents (the “Obligations”), including without
            limitation the adequate protection obligations set forth in the DIP Orders, which are necessary and
            convenient to the conduct, promotion, and attainment of the business of such Company; and be it
            further

                    RESOLVED, that each Authorizing Body, in the exercise of its business judgment,
            hereby authorizes and approves, in all respects, the terms, and provisions of the DIP Facility
            Documents, substantially in the forms circulated to the Authorizing Bodies, and the Rite Aid
            Companies’ execution, delivery, and performance of its obligations under the DIP Facility


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            Documents, including without limitation, the grant of security interests under the applicable DIP
            Facility Document(s), and any borrowings or guaranty therewith; and be it further

                   RESOLVED, that each Authorizing Body, with respect to its applicable Company, hereby
            authorizes and empowers each Authorized Person to (a) enter into or join the DIP Facility
            Documents, including without limitation any guarantees related thereto, incur or guarantee the
            payment and performance of the Obligations, and to undertake any and all related transactions on
            substantially the same terms as contemplated under the DIP Facility Documents, including
            granting liens on and security interests in its assets, including the Collateral (as defined in the
            applicable DIP Facility Document(s)), (b) negotiate, execute, deliver, and perform under the DIP
            Facility Documents, and all agreements, certificates, documents, notices and instruments, security
            agreements, control agreements, intercreditor agreements and similar agreements and
            arrangements, financing statements (which may include supergeneric descriptions of collateral
            such as “all assets” or “all personal property”), intellectual property filings, fee letters and any
            reaffirmations, ratifications, amendments, extensions, waivers, joinder agreements, supplements,
            or any other modifications to any of the foregoing in connection with the DIP Facility Documents,
            (c) take any and all actions to perform all of the Obligations and the transactions contemplated
            under each of the DIP Facility Documents in the name and on behalf of such Company, including
            the payment of all fees and expenses in connection therewith, (d) take all such further actions, or
            cause all such further actions to be taken as in the reasonable determination of such Authorized
            Person shall be necessary, proper, or advisable in order to fully carry out the intent and accomplish
            the purposes of the foregoing resolutions and to consummate the transactions contemplated
            thereby, with all such changes, additions, and modifications thereto as such Authorized Person
            shall approve, with such approval to be conclusively evidenced by such Authorized Person’s
            execution and delivery thereof, and (e) seek Bankruptcy Court approval of such Company’s use
            of Cash Collateral and incurrence of the Obligations, in each case, pursuant to the DIP Orders; and
            be it further

            5.       General Authorizations

                    RESOLVED, that any and all actions heretofore or hereafter taken by (a) the Special
            Committee, any Authorizing Body, or members of either of the foregoing, (b) any Authorized
            Person or agent of the Rite Aid Companies, and (c) any Company, in each case, with respect to, in
            furtherance of or in contemplation of the actions and transactions authorized by any of the
            foregoing resolutions are, and each is, hereby adopted, authorized, approved, ratified, and
            confirmed in all respects; and be it further

                    RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
            by the foregoing resolutions done in the name of and on behalf of any Company, which acts would
            have been approved by the foregoing resolutions except that such acts were taken before the
            adoption of these resolutions, are hereby in all respects approved, confirmed and ratified as the
            true acts and deeds of such Company with the same force and effect as if each such act, transaction,
            agreement, or certificate had been specifically authorized in advance by resolution of the
            applicable Authorizing Body; and be it further

                   RESOLVED, that any Authorized Person be, and each of them individually hereby is,
            authorized to perform all acts, deeds, and other things as each applicable Company itself may


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            lawfully do, in accordance with its governing documents and applicable law, howsoever arising in
            connection with the matters above, or in furtherance of the intentions expressed in the foregoing
            resolutions, including, but not limited to, the negotiation, finalization, execution, and delivery of
            any other agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
            and other documents whatsoever as the individual acting may in such Authorized Person’s
            reasonable discretion approve, deem, or determine necessary, appropriate, or advisable, such
            approval, deeming, or determination to be conclusively evidenced by said individual taking such
            action or the execution thereof.

                                          [Remainder of page intentionally left blank]




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    NEW RITE AID, LLC



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Director



                                                                    By:
                                                                    Name: Tim Pohl
                                                                    Title: Director



                                                                    By:
                                                                    Name: Scott Vogel
                                                                    Title: Director



                                                                    By:
                                                                    Name: Michael Wartell
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    RITE AID CORPORATION



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    HUNTER LANE, LLC




                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Director


                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Director


                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    JCG HOLDINGS (USA) INC.
                                                                    JCG (PJC) USA, LLC
                                                                    RITE INVESTMENTS CORP.
                                                                    RITE AID HDQTRS. FUNDING, INC.
                                                                    THE JEAN COUTU GROUP (PJC) USA,
                                                                    INC.



                                                                    By:
                                                                    Name: Jonathan D. Moll
                                                                    Title: Director



                                                                    By:
                                                                    Name: Maria T. Hurd
                                                                    Title: Director



                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    RITE INVESTMENTS CORP., LLC
                                                                    By: Rite Investments Corp., its Member



                                                                    By:
                                                                    Name: Jonathan D. Moll
                                                                    Title: Authorized Signatory



                                                                    By:
                                                                    Name: Maria T. Hurd
                                                                    Title: Authorized Signatory


                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Authorized Signatory




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    PJC OF VERMONT, INC.
                                                                    RITE AID OF VERMONT, INC.
                                                                    REDICLINIC ASSOCIATES, INC.



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Director



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Director



                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    RITE AID OF MICHIGAN, INC.
                                                                    EDC DRUG STORES, INC.
                                                                    APEX DRUG STORES, INC.
                                                                    PDS-1 MICHIGAN, INC.
                                                                    RDS DETROIT, INC.
                                                                    THRIFTY PAYLESS, INC.
                                                                    RITE AID OF NEW HAMPSHIRE, INC.
                                                                    MAXI DRUG NORTH, INC.
                                                                    GENOVESE DRUG STORES, INC.
                                                                    RITE AID DRUG PALACE, INC.
                                                                    RITE AID OF NEW YORK, INC.
                                                                    ECKERD CORPORATION
                                                                    MAXI DRUG, INC.
                                                                    RITE AID OF CONNECTICUT, INC.
                                                                    RITE AID OF DELAWARE, INC.
                                                                    RITE AID OF NEW JERSEY, INC.
                                                                    RITE AID OF MARYLAND, INC.
                                                                    RITE AID OF OHIO, INC.
                                                                    RITE AID OF VIRGINIA, INC.
                                                                    THE LANE DRUG COMPANY
                                                                    THRIFT DRUG, INC.
                                                                    HARCO, INC.
                                                                    RITE AID OF GEORGIA, INC.
                                                                    RITE AID OF INDIANA, INC.
                                                                    RITE AID OF KENTUCKY, INC.
                                                                    RITE AID OF SOUTH CAROLINA, INC.
                                                                    MAXI GREEN INC.
                                                                    LMW – 90B AVENUE LAKE OSWEGO,
                                                                    INC.




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                                                                    RITE AID OF NORTH CAROLINA, INC
                                                                    RITE AID OF TENNESSEE, INC.
                                                                    RITE AID OF WASHINGTON, D.C., INC.
                                                                    RITE AID OF WEST VIRGINIA, INC.
                                                                    RITE AID ONLINE STORE, INC.
                                                                    RITE AID PAYROLL MANAGEMENT,
                                                                    INC.
                                                                    READ’S INC.
                                                                    PERRY DRUG STORES, INC.
                                                                    K&B, INCORPORATED
                                                                    K&B ALABAMA CORPORATION
                                                                    K&B LOUISIANA CORPORATION
                                                                    K&B MISSISSIPPI CORPORATION
                                                                    K&B TENNESSEE CORPORATION
                                                                    K&B TEXAS CORPORATION
                                                                    K&B SERVICES, INCORPORATED
                                                                    THRIFTY CORPORATION
                                                                    RITE AID LEASE MANAGEMENT
                                                                    COMPANY
                                                                    RITE AID REALTY CORP.
                                                                    LG – 90B AVENUE LAKE OSWEGO, LLC
                                                                    RITE AID HDQTRS. CORP.
                                                                    BROADVIEW AND WALLINGS-
                                                                    BROADVIEW HEIGHTS OHIO, INC.
                                                                    DRUG PALACE, INC.
                                                                    GDF, INC.
                                                                    RITE AID OF MAINE, INC.
                                                                    RITE AID ROME DISTRIBUTION
                                                                    CENTER, INC.
                                                                    GRAND RIVER & FENKELL, LLC
                                                                    LAKEHURST AND BROADWAY
                                                                    CORPORATION
                                                                    RITE AID TRANSPORT, INC.




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                                                                    RX CHOICE, INC.
                                                                    RX USA, INC.
                                                                    4042 WARRENSVILLE CENTER ROAD –
                                                                    WARRENVILLE OHIO, INC.
                                                                    5277 ASSOCIATES, INC.
                                                                    5600 SUPERIOR PROPERTIES, INC.
                                                                    PJC OF RHODE ISLAND, INC.
                                                                    PJC LEASE HOLDINGS, INC.
                                                                    PJC OF MASSACHUSETTS, INC.
                                                                    P.J.C REALTY CO., INC.
                                                                    PJC REALTY MA, INC.
                                                                    PJC SPECIAL REALTY HOLDINGS, INC.




                                                                    By:
                                                                    Name: Dana Baughman
                                                                    Title: Director



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Director



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    1740 ASSOCIATES, LLC
                                                                    RICHFIELD ROAD – FLINT, MICHIGAN,
                                                                    LLC
                                                                    By: Rite Aid of Michigan, Inc., its Manager

                                                                    NAME RITE, LLC
                                                                    THRIFTY ICE CREAM, LLC
                                                                    By: Thrifty PayLess, Inc., its Manager

                                                                    RITE AID OF PENNSYLVANIA, LLC
                                                                    RITE AID SPECIALTY PHARMACY, LLC
                                                                    REDICLINIC LLC
                                                                    By: Rite Aid Hdqtrs. Corp., its Member

                                                                    MUNSON & ANDREWS, LLC
                                                                    GETTYSBURG AND HOOVER – DAYTON,
                                                                    OHIO, LLC
                                                                    By: Rite Aid of Ohio, Inc., its Manager



                                                                    By:
                                                                    Name: Dana Baughman
                                                                    Title: Authorized Signatory



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Authorized Signatory



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Authorized Signatory




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    RCMH LLC
                                                                    REDICLINIC OF MD, LLC
                                                                    REDICLINIC OF PA, LLC
                                                                    REDICLINIC US, LLC
                                                                    REDICLINIC OF DC, LLC
                                                                    REDICLINIC OF DE, LLC
                                                                    REDICLINIC OF VA, LLC
                                                                    REDICLINIC OF DALLAS-FORT WORTH,
                                                                    LLC
                                                                    By: RediClinic LLC, its Member



                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Authorized Signatory




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    THE BARTELL DRUG COMPANY



                                                                    By:
                                                                    Name: Jermaine Smith
                                                                    Title: Director



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Director



                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    PJC MANCHESTER REALTY LLC
                                                                    PJC REVERE REALTY LLC
                                                                    By: PJC Special Realty Holdings, Inc., its
                                                                    Manager

                                                                    MAXI DRUG SOUTH, L.P.
                                                                    By: Maxi Drug, Inc., its General Partner



                                                                    By:
                                                                    Name: Dana Baughman
                                                                    Title: Authorized Signatory



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Authorized Signatory



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Authorized Signatory




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    REDICLINIC ASSOCIATES, INC.



                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Director



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Director



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Director




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    PJC PETERBOROUGH REALTY LLC




                                                                    By:
                                                                    Name: Susan Lowell
                                                                    Title: Manager



                                                                    By:
                                                                    Name: Alyssa Parrish
                                                                    Title: Manager



                                                                    By:
                                                                    Name: Steven Bixler
                                                                    Title: Manager




                              [Signature Page to Rite Aid Companies’ Resolutions Authorizing Bankruptcy Filings]
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            Case 25-14800-MBK            Doc 1    Filed 05/05/25 Entered 05/05/25 19:40:55                    Desc Main
                                                 Document     Page 38 of 41



                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    EX HOLDCO, LLC
                                                                    By: Hunter Lane, its Manager



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Authorized Signatory




                              [Signature Page to Rite Aid Companies’ Resolutions Authorizing Bankruptcy Filings]
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            Case 25-14800-MBK            Doc 1    Filed 05/05/25 Entered 05/05/25 19:40:55                    Desc Main
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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    EX TECH, LLC
                                                                    EX DESIGN HOLDINGS, LLC
                                                                    EX OPTIONS, LLC
                                                                    EX SOLUTIONS OF OH, LLC
                                                                    EX SOLUTIONS OF MO, LLC
                                                                    EX SOLUTIONS OF NV, LLC
                                                                    EX PHARMACY, LLC
                                                                    EX SAVINGS, LLC
                                                                    FIRST FLORIDA INSURERS OF TAMPA,
                                                                    LLC
                                                                    EX SOFTWARE, LLC
                                                                    EX PROCUREMENT, LLC
                                                                    By: Ex HoldCo, LLC, its Manager



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Authorized Signatory




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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    EX DESIGN, LLC
                                                                    EX RXCLUSIVE, LLC
                                                                    EX INITIATIVES L.L.C.
                                                                    By: Ex Design Holdings, LLC, its Manager



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Authorized Signatory




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            Case 25-14800-MBK            Doc 1    Filed 05/05/25 Entered 05/05/25 19:40:55                    Desc Main
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                          IN WITNESS WHEREOF, the undersigned have executed this consent effective as
                 of the time that each of the undersigned have executed this consent.

                                                                    EX BENEFITS, LLC
                                                                    By: First Florida Insurers of Tampa, LLC, its
                                                                    Manager



                                                                    By:
                                                                    Name: Matthew Schroeder
                                                                    Title: Authorized Signatory




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